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. DISTRICT COURT

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

LAYMON ADAMS CIVIL ACTION

VERSUS NUMBER: 02-1059

CHARLES C. FOTI, JR., ET AL SECTION “A” (3)
ANSWER AND DEFENSES

NOW INTO COURT, through undersigned counsel comes defendant, Charles C. Foti, Jr.,
Criminal Sheriff of Orleans Parish, who answers petitioner's Complaint as follows:
FIRST DEFENSE
The Complaint fails to state a claim against the defendant upon which relief can be granted.
SECOND DEFENSE
Defendant categorically paragraph by paragraph alleges and avers as follows:
1.
Admitted.
2.
Defendant denies the allegations contained in paragraph II of the Complaint for lack of
sufficient information upon which to justify a belief therein.
3.
Defendant denies the allegations contained in paragraph II of the Complaint for lack of

sufficient information upon which to justify a belief therein. —. Fee

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4,
Defendant denies the allegations contained in paragraph IV of the Complaint for lack of
sufficient information upon which to justify a belief therein.
5.
Defendant denies the allegations contained in paragraph V of the Complaint for lack of
sufficient information upon which to justify a belief therein.
6.
Defendant denies the allegations contained in paragraph VI of the Complaint for lack
of sufficient information upon which to justify a belief therein.
7.
Defendant denies the allegations contained in paragraph VII of the Complaint for lack of
sufficient information upon which to justify a belief therein.
8.
Defendant denies the allegations contained in paragraph VIII of the Complaint for lack of
sufficient information upon which to justify a belief therein.
9.
Defendant denies the allegations contained in paragraph IX of the Complaint for lack of
sufficient information upon which to justify a belief therein.
10.
Defendant denies the allegations contained in paragraph X of the Complaint for lack of

sufficient information upon which to justify a belief therein.
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11.
Defendant denies the allegations contained in paragraph XI of the Complaint for lack of
sufficient information upon which to justify a belief therein.
12.
Defendant denies the allegations contained in paragraph XII of the Complaint for lack of
sufficient information upon which to justify a belief therein.
13.
Defendant denies the allegations contained in paragraph XIII of the Complaint for lack of
sufficient information upon which to justify a belief therein.
14.
Defendant denies the allegations contained in paragraph XIV of the Complaint for lack of
sufficient information upon which to justify a belief therein.
15.
Defendant denies the allegations contained in paragraph XV of the Complaint for lack of
sufficient information upon which to justify a belief therein.
16.
Defendant denies the allegations contained in paragraph XVI. of the Complaint for lack of
sufficient information upon which to justify a belief therein.
17.
Defendant denies the allegations contained in paragraph XVII of the Complaint for lack of

sufficient information upon which to justify a belief therein.
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18.
Defendant denies the allegations contained in paragraph XVIII of the Complaint for lack of

sufficient information upon which to justify a belief therein.
19. .
Defendant denies the allegations contained in paragraph XIX of the Complaint for lack of
sufficient information upon which to justify a belief therein.
20.
Defendant denies the allegations contained in paragraph XX of the Complaint for lack of
sufficient information upon which to justify a belief therein.
21.
Defendant denies the allegations contained in paragraph XXI of the Complaint for lack of
sufficient information upon which to justify a belief therein.
22.
Defendant denies the allegations contained in paragraph XXII of the Complaint for lack of
sufficient information upon which to justify a belief therein.
23.
Defendant denies the allegations contained in paragraph XXIII of the Complaint for lack of
sufficient information upon which to justify a belief therein.
24.

Defendant denies the allegations contained in paragraph XXIV of the Complaint for lack of

sufficient information upon which to justify a belief therein.
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25.
Defendant denies the allegations contained in paragraph XXV of the Complaint for lack of
sufficient information upon which to justify a belief therein.
26.
Defendant denies the allegations contained in paragraph XXVI of the Complaint for lack of
sufficient information upon which to justify a belief therein.
27,
Defendant denies the allegations contained in paragraph XX VII of the Complaint for lack of
sufficient information upon which to justify a belief therein.
28.
Defendant denies the allegations contained in paragraph XXVIII of the Complaint for lack
of sufficient information upon which to justify a belief therein.
29.
Defendant denies the allegations contained in paragraph XXIX of the Complaint for lack of
sufficient information upon which to justify a belief therein.
30.
Defendant denies the allegations contained in paragraph XXX of the Complaint for lack of
sufficient information upon which to justify a belief therein.
31.
Defendant denies the allegations contained in paragraph XXXI of the Complaint for lack of

sufficient information upon which to justify a belief therein.
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THIRD DEFENSE
The Court is without jurisdiction as to all claims asserted by the petitioner in this matter,
inasmuch as the Complaint fails to state a proper claim of relief under the Constitution of the United
States or any United States statute.
FOURTH DEFENSE
Defendant herein pleads that any action taken by him was done in good faith and with
probable cause, without malice and under laws believed to be constitutional.
FIFTH DEFENSE
That the petitioner by virtue of her own actions and conduct was guilty of negligence and/or
contributory negligence and/or assumption of the risk, all of which will be more fully shown at the
trial of this matter.
SIXTH DEFENSE
Defendant avers that at all times herein, his actions were reasonable, justified and legally
permissible under the circumstances.
SEVENTH DEFENSE
Defendant specifically pleads that he is entitled to and protected by the qualified immunity
afforded to public officials for acts committed during the course of their official duties.
EIGHTH DEFENSE
Asa political subdivision of the State of Louisiana, defendant is entitled to and hereby pleads
the statutory limitation of liability, costs and interest contained in LSA-R.S. 13:5106 and LSA-R:S.
13:5112, as well as any other statutory or jurisprudential limitation of liability, costs, and interest

available to defendant under the law.
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NINTH DEFENSE
Despite having adequate and reasonable opportunity to do so, plaintiff failed to mitigate his
damages so that any recovery sought herein should be reduced or be precluded entirely.
WHEREFORE, defendant prays that this answer be deemed good and sufficient and after
due proceedings, there be judgment herein, dismissing petitioner's Complaint with prejudice, at her
costs and for all other general and equitable relief.
Respectfully submitted,

USRY, WEEKS & MATTHEWS

Lb hf.

LAMBERT J. HASSINGER, JR., T.A. (BN 21683)
FREEMAN R. MATTHEWS (LBN )

1717 St. Charles Avenue

New Orleans, Louisiana 70130

(504) 592-4600

Attorneys for Sheriff Charles C. Foti, Jr.

UWM File No. 02-318-14

CERTIFICATE OF SERVICE
I do hereby certify that I have on April 10, 2002, served a copy of the foregoing pleading on

counsel for all parties to this proceeding by mailing the same via United Stgtes Mail, properly

addressed, and first class postage pre-paid.

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